Case 2:17-cv-01747-DMG-KS Document 24 Filed 04/26/17 Page 1 of 1 Page ID #:578



                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES—GENERAL

 Case No.    CV 17-1747-DMG (KSx)                                   Date     April 26, 2017

 Title Rexina Mize et al v. Mentor Worldwide, LLC, et al.                          Page     1 of 1


 Present: The Honorable     DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

             KANE TIEN                                             NOT REPORTED
             Deputy Clerk                                           Court Reporter

    Attorneys Present for Plaintiff(s)                      Attorneys Present for Defendant(s)
             None Present                                             None Present

 Proceedings: IN CHAMBERS – ORDER DENYING DEFENDANTS’ MOTION TO
              DISMISS AS MOOT [18] AND VACATING PLAINTIFFS’ MOTION TO
              REMAND [17]

        Plaintiffs have timely filed a First Amended Complaint pursuant to Rule 15(a)(1)(B).
 [Doc. # 23.] Defendants’ Motion to Dismiss [Doc. # 18] is DENIED without prejudice as moot.
 The May 19, 2017 hearing is VACATED. Defendants shall file their response within 21 days
 from the filing of the First Amended Complaint.

        Further, pursuant to the Plaintiffs’ notice of withdrawing motion to remand (“Motion”)
 [Doc. # 22], the Motion [Doc. # 17] is withdrawn, and the May 19, 2017 hearing is VACATED.

 IT IS SO ORDERED.




 CV-90                             CIVIL MINUTES—GENERAL                   Initials of Deputy Clerk KT
